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            Exhibit 1 – Expert Report of William Cooper – Exhibit List

EXHIBIT                                    DESCRIPTION
   A      Summary of Redistricting Work
   B      Methodology and Sources
  C–1     Louisiana 2020 Population by Parish
  C–2     Louisiana 2010 Population by Parish
  C–3     Louisiana 2000 Population by Parish
  C–4     Louisiana 1990 Population by Parish
  D–1     Map of Act 10 (2001): Congressional Districts
  D–2     Population Summary for 2001 Plan
  E–1     Map of 1984 Court–ordered Plan 1980 Census
  E–2     Map of 1996 Court–ordered Plan 1990 Census
  F–1     Map of 103rd Congressional Plan 1990 Census
  F–2     Map of 104th Congressional Plan 1990 Census
  G–1     2010 Population Summary – 2010 Census Illustrative Plan
  G–2     2010 Census Illustrative Plan
  G–3     Political Subdivisions Split Between Districts – 2010 Census Illustrative Plan
  H–1     Population Summary Report – 2022 Enacted Congressional Plan
  H–2     Map of 2022 Enacted Congressional Plan – Statewide
  H–3     Map of 2022 Enacted Congressional Plan – Individual Districts
  H–4     Map of 2022 Enacted Congressional Plan – New Orleans MSA
  H–5     Map of 2022 Enacted Congressional Plan – Baton Rouge MSA
  H–6     Parish Population by District – 2022 Enacted Congressional Plan
          Political Subdivisions Split Between Districts – 2022 Enacted Congressional
  H–7     Plan
  H–8     Municipal Splits by Districts – 2022 Enacted Congressional Plan
  H–9     Regional District Splits CBSA – 2022 Enacted Congressional Plan
  I–1     Map of Louisiana 2020 CBSAs
          Map of 2022 State Board of Elementary and Secondary Education Districts
  I–2     (HB3)
  I–3     Map of 2022 Public Service Commission Map (HB2)
  J–1     Population Summary Report – Illustrative Plan 1
  J–2     Map of Illustrative Plan 1 – Statewide
  J–3     Map of Illustrative Plan 1 – Individual Districts
  J–4     Map of Illustrative Plan 1 – New Orleans MSA
  J–5     Map of Illustrative Plan 1 – Baton Rouge MSA
  J–6     Parish Population by District – Illustrative Plan 1
  J–7     Political Subdivisions Split Between Districts – Illustrative Plan 1
  J–8     Municipal Splits by Districts – Illustrative Plan 1
  J–9     Regional District Splits CBSA – Illustrative Plan 1
  K–1     Population Summary Report – Illustrative Plan 2
  K–2     Map of Illustrative Plan 2 – Statewide
  K–3     Map of Illustrative Plan 2 – Individual Districts
  K–4     Map of Illustrative Plan 2 – New Orleans MSA
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EXHIBIT                                    DESCRIPTION
  K–5     Map of Illustrative Plan 2 – Baton Rouge MSA
  K–6     Parish Population by District – Illustrative Plan 2
  K–7     Political Subdivisions Split Between Districts – Illustrative Plan 2
  K–8     Municipal Splits by Districts – Illustrative Plan 2
  K–9     Regional District Splits CBSA – Illustrative Plan 2
  L–1     Population Summary Report – Illustrative Plan 2
  L–2     Map of Illustrative Plan 3 – Statewide
  L–3     Map of Illustrative Plan 3 – Individual Districts
  L–4     Map of Illustrative Plan 3 – New Orleans MSA
  L–5     Map of Illustrative Plan 3 – Baton Rouge MSA
  L–6     Parish Population by District – Illustrative Plan 3
  L–7     Political Subdivisions Split Between Districts – Illustrative Plan 3
  L–8     Municipal Splits by Districts – Illustrative Plan 3
  L–9     Regional District Splits CBSA – Illustrative Plan 3
  M–1     Illustrative Plan 1 Compactness Report
  M–2     Illustrative Plan 2 Compactness Report
  M–3     Illustrative Plan 3 Compactness Report
  M–4     Enacted Plan Compactness Report
  N–1     2019 ACS Charts
  N–2     2019 ACS Statistics
   O      2019 ACS Charts – Baton Rouge MSA
   P      2019 ACS Charts – New Orleans MSA
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             Exhibit I-1
Louisiana: 2020 Core Based
                        CaseStatistical  Areas and Counties
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                                                                                                                                                                                                                                                     Combined Statistical Area
                                                                                                                                                                                                                                                     Metropolitan Statistical Area
                                                                       Claiborne                        Union
  N                                                                                                                                                                                                                                                  Micropolitan Statistical Area
                                                                                                      Monroe-                   Morehouse              West
                                   Shreveport-                                                        Ruston                                          Carroll
                                                                                                                                                                   East                                                                              STATE
                                     Bossier Minden                                                                                                               Carroll
                                                                                   Ruston                                                                                                                                                            Parish
                           Caddo       City    Webster
                                                                                       Lincoln
                                        Bossier
                                                                                                               Monroe
                                                                                                               Ouachita                Richland                                                                                             Statistical area titles and boundary
                                                                   Bienville                                                                                     Madison                                                                      delineations are based on March
                                                                                           Jackson                                                                                                                                           2020 delineation files released by
                                                                                                                                                                                                                                            the U.S. Office of Management and
                          Shreveport-                                                                                                     Franklin
                                                                                                                                                                                                                                                Budget. All other names and
                                                     Red River                                                     Caldwell
                          Bossier City-                                                                                                                                                                                                        boundaries are as of January 1,
                            Minden                                                                                                                          Tensas                                                                                          2020.
                                                                                         Winn
                              De Soto

                                                      Natchitoches                                                             Catahoula
                                                         Natchitoches                                          LaSalle


      TEXAS                              Sabine
                                                                                             Grant
                                                                                                                                         Concordia
                                                                                                                                                                                                              MISSISSIPPI
                                                                                                                                                          Natchez

                                                                                        Alexandria
                                                                                            Rapides
                                                    Fort Polk South
                                                              Vernon
                                                                                                                         Avoyelles
                                                     DeRidder-
                                                   Fort Polk South
                                                                                                                                                          West                 East
                                                                                                                                                        Feliciana            Feliciana
                                                                                                                                                                                             St. Helena                      Bogalusa
                                                                                                                                                                                                                             Washington

                                                                               Allen              Evangeline
                                                  DeRidder                                                                                                                East
                                                  Beauregard                                                         Opelousas                  Pointe Coupee         Baton Rouge
                                                                                                                       St. Landry
                                                                                                                                                                            Baton                         Hammond            St. Tammany
                                                                                                                                                                                                           Tangipahoa
                                                                                                                                                                West        Rouge         Livingston
                                                                                                                                                                Baton                                                       New Orleans-
                                                                                                                                                                Rouge
                                                                          Jennings                                                                                                                                            Metairie-
                                                                         Jeﬀerson Davis          Lafayette                                                                                                                   Hammond
                                           Lake Charles                                            Acadia                            St. Martin                                   Ascension
                                                  Calcasieu                                                     Lafayette                                       Iberville
                                                                                                                                                                                                        St. John
                                                                                                                                                                                                       the Baptist
                                                                                                                                                                                                                                  Orleans
                                                                                                                                                                                         St. James
                                                                                                   Lafayette-                          Iberia
                                        Lake Charles-Jennings                                     Opelousas-                                                            Assumption
                                                                                                                                                                                                             St. Charles
                                                      Cameron                                     Morgan City                                                                                                              Jeﬀerson
                                                                                                       Vermilion                                                St. Martin                                                                        St. Bernard
                                                                                                                                                                                                                                       New
                                                                                                                                                   Morgan City                                                                        Orleans-
                                                                                                                                                       St. Mary
                                                                                                                                                                                                            Lafourche                 Metairie
                                                                                                                              Iberia
                                                                                                                                                                            Houma-Thibodaux
                                                                                                                                                                                  Terrebonne                                                Plaquemines




  20 Miles

U.S. Census Bureau, Population Division
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             Exhibit I-2
                                                                                                                                                                                                         Case 3:22-cv-00211-SDD-SDJ          Document 45    04/15/22 Page 6 of 62




                                                                                                                                                                                    HB3 Enrolled - 2022 - Statewide

                                                                                                                                                                                                                                                                                                                                                                                                                                            St. Landry




                                                                                                                                                                                                                                                                                                                                                                                                               Acadia

                                                                                                                                                                                                                                                                                                                                                                        Bossier

                                                                                                                    Union
                                                                 Claiborne                                                                                               Morehouse
                                                                                                                                                                                                       West Carroll
                                                                                                                                                                                                                                                                                                                                                                                                                                                               !8          St. Martin
                                                                                                                                                                                                                              East Carroll                                                                                                       !4


                  Bossier
                                  Webster                                                                                                                                                                                                                                                                                      Caddo                                                                              Lafayette   !7

                                                                                               Lincoln
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    !3
Caddo



                                                                                                                                         Ouachita
                                                                                                                                                                                    Richland
                                                                                                                                                                                                                                                                                                                                                                                                                    Vermilion
                                                                                                                                                                                                                                  Madison
                                                         Bienville
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Iberia
                                                                                                         Jackson                                                                                                                                                                                                                            De Soto




                                                                                                                                                                                     Franklin
                                                                                                                                                                                                                                                                                                                                                                                              West Feliciana
                                                                                                                                              Caldwell
        De Soto                    Red River                                                                                        !5                                                                                                                                                                                                                                                                                                        East Feliciana
                                                                                                                                                                                                                            Tensas

                                                                                                                                                                                                                                                                                                           !1
                                        !4                                                          Winn

                                                                                                                                                                                                                                                                                                                                                                     Orleans
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    St. Helena


                                                                                                                                                                                                                                                                                                                                            !2
                                               Natchitoches                                                                                                             Catahoula                                                                                                                                                                                  St. Bernard

                                                                                                                                         La Salle
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    !6
                                                                                                                                                                                                                                                                                            Jefferson

                                                                                                    Grant

                        Sabine                                                                                                                                                                                                                                                                                                                                                                                                      East Baton Rouge

                                                                                                                                                                                           Concordia
                                                                                                                                                                                                                                                                                                                                                                                                   !
                                                                                                                                                                                                                                                                                                                                                                                                   8


                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Livingston




                                                                                                                                                                                                                                                                             St. Charles
                                                                                                                                                                                                                                                                                                                                                                   !3                              West Baton Rouge
                                                                                                                                                                                                                                                                                                                                                            Plaquemines

                                                                                                                                                                                                                                                                                                                          !3
                                                                                                         Rapides


                                                Vernon

                                                                                                                                                            Avoyelles




                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Ascension
                                                                                                                                                                                                                                                                                                                                                                                                                        Iberville
                                                                                                                                                                                                                 West Feliciana
                                                                                                                                                                                                                                                East Feliciana                                                                     Washington

                                                                                                                                                                                            !
                                                                                                                                                                                            8
                                                                                                                                                                                                                                                                                   St. Helena                                                                                                 !3
                                                                                                                   Evangeline

                                                                                                                                                                                                 Pointe Coupee
                                  Beauregard                                         Allen
                                                                                                                                                                                                                                                                                                           Tangipahoa
                                                                                                                                                           St. Landry

                                                                                                                                                                                                                                         East Baton Rouge


                                                                                                                                                                                                                   West Baton Rouge
                                                                                                                                                                                                                                                                             Livingston

                                                                                                                                                                                                                                                                                !6                                                          St. Tammany

                                                                                                                                                                                                                                                                                                                                        !1
                                                                                                                    Acadia
                                                                                                                                                                              St. Martin                                 Iberville
                                 Calcasieu                                   Jefferson Davis
                                                                                                                                               Lafayette                                                                                                         Ascension

                                                                                                                                                                                                                                                                                                St. John the Baptist

                                                                                                                                                                                                                                                                                                                                                  Orleans

                                                                                !7                                                                                                                                                                                     St. James                                                                      !2

                                                                                                                                                                                                                                                Assumption                                                  St. Charles                                                                   St. Bernard
                                             Cameron
                                                                                                                                                                                                                            St. Martin
                                                                                                                             Vermilion




                                                                                                                                                                                                                                                                                                                                Jefferson
                                                                                                                                                                                                                 St. Mary

                                                                                                                                                                                                                                                                                                              Lafourche

                                                                                                                                                                           Iberia




                                                                                                                                                                                           !3                                                                                                                                                                               Plaquemines
                                                                                                                                                                                                                                                                     Terrebonne
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             Exhibit I-3
                                                                                                                                                                                    Case 3:22-cv-00211-SDD-SDJ      Document 45       04/15/22 Page 8 of 62


                                                                                                                                             HB2 Enrolled - 2022 - PSC - Statwide




                                                                 Claiborne                                          Union                                                Morehouse
                                                                                                                                                                                                        West Carroll
                                                                                                                                                                                                                               East Carroll

                                  Webster
                  Bossier



                                                                                               Lincoln
Caddo



                                                                                                                                         Ouachita



                                                                         !5
                                                                                                                                                                                     Richland


                                                                                                                                                                                                                                   Madison
                                                         Bienville
                                                                                                         Jackson




                                                                                                                                                                                       Franklin

                                                                                                                                              Caldwell
        De Soto                    Red River
                                                                                                                                                                                                                             Tensas


                                                                                                    Winn




                                               Natchitoches                                                                                                             Catahoula
                                                                                                                                         La Salle


                                                                                                    Grant

                        Sabine
                                                                                                                                                                                           Concordia




                                                                                                         Rapides


                                                Vernon

                                                                                                                                                            Avoyelles




                                                                                                                                                                                                                  West Feliciana
                                                                                                                                                                                                                                                 East Feliciana                                                               Washington
                                                                                                                                                                                                                                                                                    St. Helena


                                                                                                                   Evangeline

                                                                                                                                                                                                  Pointe Coupee
                                  Beauregard                                        Allen
                                                                                                                                                                                                                                                                                                            Tangipahoa
                                                                                                                                                           St. Landry

                                                                                                                                                                                                                                          East Baton Rouge


                                                                                        !4                                                                                                                          West Baton Rouge
                                                                                                                                                                                                                                                                              Livingston
                                                                                                                                                                                                                                                                                                                                       St. Tammany



                                                                                                                    Acadia
                                                                                                                                                                              St. Martin                                  Iberville
                                 Calcasieu                                   Jefferson Davis
                                                                                                                                               Lafayette                                                                                                          Ascension

                                                                                                                                                                                                                                                                                                 St. John the Baptist

                                                                                                                                                                                                                                                                                                                                             Orleans


                                                                                                                                                                                                                                                              !3        St. James




                                                                                                                                                                                                                                                  Assumption                                                 St. Charles                                             St. Bernard
                                             Cameron
                                                                                                                                                                                                                             St. Martin
                                                                                                                             Vermilion




                                                                                                                                                                                                                                                                                                                           Jefferson



                                                                                                                                                                                                                                                                                                                                                        !1
                                                                                                                                                                                                                  St. Mary

                                                                                                                                                                                                                                                                                                               Lafourche

                                                                                                                                                                           Iberia
                                                                                                                                                                                                                                                                                     !2
                                                                                                                                                                                                                                                                                                                                                       Plaquemines
                                                                                                                                                                                                                                                                      Terrebonne
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                                                         Case 3:22-cv-00211-SDD-SDJ                Document 45    04/15/22 Page 10 of 62




                                                            Population Summary Report
                                                 Louisiana Congress -- Illustrative Plan 1
                                                                          2020 Census
                                                                                                    18 + AP      % 18+ AP                              18+ NH      % 18+ NH
 District      Population          Deviation      AP Black        % AP Black          18+ Pop        Black         Black     18+ Latino % 18+ Latino    White       White

     1               776292                 -1          155355           20.01%           599826       109041       18.18%        60271       10.05%      396685      66.13%
     2               776293                  0          406680           52.39%           603092       302513       50.16%        51759        8.58%      225537      37.40%
     3               776293                  0          165787           21.36%           586519       115841       19.75%        30658        5.23%      415185      70.79%
     4               776293                  0          261185           33.65%           596695       189880       31.82%        24639        4.13%      357357      59.89%
     5               776293                  0          409265           52.72%           592316       296402       50.04%        20168        3.40%      260464      43.97%
     6               776293                  0          144847           18.66%           592100       102092       17.24%        36167        6.11%      426882      72.10%

   Total           4657757                            1543119            33.13%          3570548      1115769       31.25%       223662       6.26%     2082110       58.31%

                                   % July 2021
              % NH SR   % NH White    Black
 District    Black CVAP   CVAP     Registered

     1              16.93%           73.88%            16.88%
     2              53.35%           39.31%            52.33%
     3              19.69%           74.91%            18.72%
     4              32.93%           62.58%            31.28%
     5              50.94%           46.19%            51.84%
     6              17.04%           77.84%            15.40%


Source for % Citizen Voting Age (CVAP ) -- 2020 Citizen Voting Age Population by Race and Ethnicity Special Tabulation (U.S. Census Bureau)
   https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html

-- calculated by disaggregating 2016-2020 ACS block group estimates to 2020 census blocks

Source for Voter Registration Stats: State of Louisiana via Redistricting Data Hub

   https://redistrictingdatahub.org/dataset/louisiana-voter-registration-file-at-the-vtd-level/
   https://redistrictingdatahub.org/wp-content/uploads/2021/09/readme_la_voter_reg_official.txt

 -- calculated by disaggregating 2020 VTD data to 2020 census blocks
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             Exhibit J-4
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             Exhibit J-5
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             Exhibit J-6
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      User:
Plan Name: Illustrative_1
 Plan Type:


Plan Components
Thursday, April 7, 2022                                                         2:10 PM
                                     Population              [18+_Pop]     [18+_AP_Blk]
District 01
 County: Assumption LA                    21,039                 16,616              4,707
 County: Iberia LA (part)                 37,106                 27,871             10,180
    Subtotal                             37,106                 27,871            10,180
 County Iberia LA Subtotal              37,106                  27,871            10,180
 County: Jefferson LA (part)            236,658                 189,226            22,374
    Subtotal                           236,658                 189,226            22,374
 County Jefferson LA Subtotal          236,658                 189,226            22,374
 County: Lafourche LA                    97,557                  74,619            11,077
 County: Orleans LA (part)               33,047                  26,383             1,891
 County Orleans LA Subtotal              33,047                 26,383             1,891
 County: Plaquemines LA                   23,515                 17,334             3,857
 County: St. Bernard LA                   43,764                 31,775             7,944
 County: St. Martin LA                    51,767                 39,404            11,293
 County: St. Tammany LA (part)           122,259                 94,093            19,922
    Subtotal                           122,259                  94,093            19,922
 County St. Tammany LA Subtotal        122,259                  94,093            19,922
 County: Terrebonne LA                  109,580                  82,505            15,796
District 01 Total                      776,292                 599,826           109,041
District 02
 County: Ascension LA (part)             48,562                 35,690             14,530
    Subtotal                             48,562                 35,690            14,530
 County Ascension LA Subtotal            48,562                 35,690            14,530
 County: Iberville LA                     30,241                 24,086            10,232
 County: Jefferson LA (part)             204,123                155,428            69,801
    Subtotal                           204,123                 155,428            69,801
 County Jefferson LA Subtotal          204,123                 155,428            69,801
 County: Orleans LA (part)              350,950                 279,813           164,177
 County Orleans LA Subtotal            350,950                 279,813           164,177
 County: St. Charles LA                  52,549                  39,541             9,890
 County: St. James LA                    20,192                  15,505             7,297
 County: St. John the Baptist LA         42,477                  32,503            18,437
 County: West Baton Rouge LA             27,199                  20,526             8,149
District 02 Total                      776,293                 603,092           302,513
District 03
 County: Acadia LA                        57,576                42,943              7,383
 County: Allen LA                         22,750                  17,510            3,275
 County: Beauregard LA                    36,549                 27,489             3,495
 County: Calcasieu LA                    216,785                163,166            41,898
 County: Cameron LA                        5,617                  4,358                79



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Plan Components                                                             Illustrative_1

                                     Population              [18+_Pop]     [18+_AP_Blk]
District 03
 County: Evangeline LA                   32,350                 24,408              6,483
 County: Iberia LA (part)                32,823                 24,920              6,889
    Subtotal                             32,823                 24,920             6,889
 County Iberia LA Subtotal               32,823                 24,920             6,889
 County: Jefferson Davis LA               32,250                 24,039             4,006
 County: Lafayette LA (part)             176,829                135,023            19,534
    Subtotal                           176,829                 135,023           19,534
 County Lafayette LA Subtotal          176,829                 135,023           19,534
 County: Sabine LA (part)                 7,249                   5,869             359
    Subtotal                              7,249                  5,869               359
 County Sabine LA Subtotal               7,249                   5,869               359
 County: St. Mary LA                     49,406                  37,521            11,520
 County: Vermilion LA                    57,359                  43,012             5,787
 County: Vernon LA                       48,750                  36,261             5,133
District 03 Total                      776,293                 586,519          115,841
District 04
 County: Bienville LA                     12,981                 10,073            4,284
 County: Bossier LA                     128,746                  95,876           22,440
 County: Caddo LA                       237,848                 182,407           86,359
 County: Caldwell LA                       9,645                   7,478            1,224
 County: Claiborne LA                     14,170                  11,507           4,824
 County: De Soto LA                      26,812                  20,440            7,425
 County: Grant LA                        22,169                  17,527             2,717
 County: Jackson LA                       15,031                  11,783            3,125
 County: LaSalle LA                       14,791                  11,563            1,065
 County: Lincoln LA                      48,396                  38,655            15,119
 County: Natchitoches LA                 37,515                  29,349            11,415
 County: Ouachita LA (part)              65,317                  49,519             4,212
    Subtotal                             65,317                 49,519             4,212
 County Ouachita LA Subtotal             65,317                 49,519             4,212
 County: Rapides LA (part)                48,517                 37,318             5,191
    Subtotal                             48,517                 37,318             5,191
 County Rapides LA Subtotal              48,517                 37,318             5,191
 County: Red River LA                      7,620                  5,714             2,164
 County: Sabine LA (part)                 14,906                 11,195             2,296
    Subtotal                             14,906                 11,195             2,296
 County Sabine LA Subtotal               14,906                 11,195             2,296
 County: Union LA                          21,107                16,632             3,861
 County: Webster LA                       36,967                 28,753            9,464
 County: Winn LA                          13,755                 10,906             2,695
District 04 Total                      776,293                 596,695          189,880
District 05
 County: Avoyelles LA                    39,693                  30,578             8,311
 County: Catahoula LA                     8,906                   6,951             1,736


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Plan Components                                                               Illustrative_1

                                       Population              [18+_Pop]     [18+_AP_Blk]
District 05
 County: Concordia LA                       18,687                  14,217            5,613
 County: East Baton Rouge LA (part)        221,639                169,497           116,231
    Subtotal                             221,639                 169,497          116,231
 County East Baton Rouge LA Subtotal     221,639                 169,497          116,231
 County: East Carroll LA                    7,459                    5,901           4,043
 County: East Feliciana LA                 19,539                   16,183           5,918
 County: Franklin LA                       19,774                  15,028            4,779
 County: Lafayette LA (part)               64,924                  48,852           26,383
    Subtotal                               64,924                 48,852           26,383
 County Lafayette LA Subtotal              64,924                 48,852           26,383
 County: Madison LA                          10,017                 7,435            4,391
 County: Morehouse LA                       25,629                 20,062            9,300
 County: Ouachita LA (part)                 95,051                 70,681           38,078
    Subtotal                               95,051                 70,681           38,078
 County Ouachita LA Subtotal               95,051                 70,681           38,078
 County: Pointe Coupee LA                   20,758                 16,250            5,502
 County: Rapides LA (part)                  81,506                 61,474           25,014
    Subtotal                               81,506                 61,474           25,014
 County Rapides LA Subtotal                81,506                 61,474           25,014
 County: Richland LA                        20,043                 15,383            5,546
 County: St. Helena LA                      10,920                  8,463            4,371
 County: St. Landry LA                      82,540                  61,811          25,497
 County: Tensas LA                            4,147                 3,235            1,728
 County: West Carroll LA                      9,751                 7,532             1,010
 County: West Feliciana LA                   15,310                12,783            2,951
District 05 Total                        776,293                 592,316          296,402
District 06
 County: Ascension LA (part)               77,938                  56,267             7,609
    Subtotal                               77,938                 56,267             7,609
 County Ascension LA Subtotal              77,938                 56,267            7,609
 County: East Baton Rouge LA (part)        235,142                 186,115          40,559
    Subtotal                             235,142                 186,115           40,559
 County East Baton Rouge LA Subtotal     235,142                 186,115           40,559
 County: Livingston LA                    142,282                  105,141           8,136
 County: St. Tammany LA (part)             142,311                108,135            6,839
    Subtotal                             142,311                 108,135             6,839
 County St. Tammany LA Subtotal          142,311                 108,135             6,839
 County: Tangipahoa LA                    133,157                  101,491           29,217
 County: Washington LA                     45,463                   34,951            9,732
District 06 Total                        776,293                 592,100          102,092
State Totals                            4,657,757               3,570,548       1,115,769




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      User:
Plan Name: Illustrative_1
 Plan Type:


Political Subdivison Splits Between Districts
Thursday, April 7, 2022                                                                                  1:41 PM
                                                   Split Counts
Number of subdivisions split into more than one district: Number of splits involving no population:
County                                            10      County                                            0
Voting District                                   13      Voting District                                   0

Number of times a subdivision is split into multiple districts:
County                                                10
Voting District                                       13

County                      Voting District                                              District     Population
Split Counties:
Ascension LA                                                                                   02          48,562
Ascension LA                                                                                   06          77,938
East Baton Rouge LA                                                                            05         221,639
East Baton Rouge LA                                                                            06         235,142
Iberia LA                                                                                      01          37,106
Iberia LA                                                                                      03          32,823
Jefferson LA                                                                                   01         236,658
Jefferson LA                                                                                   02         204,123
Lafayette LA                                                                                   03         176,829
Lafayette LA                                                                                   05          64,924
Orleans LA                                                                                     01          33,047
Orleans LA                                                                                     02         350,950
Ouachita LA                                                                                    04          65,317
Ouachita LA                                                                                    05          95,051
Rapides LA                                                                                     04          48,517
Rapides LA                                                                                     05          81,506
Sabine LA                                                                                      03           7,249
Sabine LA                                                                                      04          14,906
St. Tammany LA                                                                                 01         122,259
St. Tammany LA                                                                                 06         142,311
Split VTDs:
Ascension LA                27                                                                 02               11
Ascension LA                27                                                                 06            2,040
East Baton Rouge LA         1-67                                                               05              742
East Baton Rouge LA         1-67                                                               06                8
East Baton Rouge LA         2-7                                                                05               13
East Baton Rouge LA         2-7                                                                06            2,428
East Baton Rouge LA         3-12                                                               05            2,837
East Baton Rouge LA         3-12                                                               06              562
Iberia LA                   6-3                                                                01            1,213
Iberia LA                   6-3                                                                03              716
Jefferson LA                131                                                                01              295
Jefferson LA                131                                                                02              424


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Political Subdivison Splits Between Districts                            Illustrative_1

County              Voting District                           District   Population
Lafayette LA        9                                              03              46
Lafayette LA        9                                              05           2,318
Ouachita LA         34                                             04             131
Ouachita LA         34                                             05             649
Rapides LA          C22                                            04             456
Rapides LA          C22                                            05              16
Rapides LA          N19                                            04           2,897
Rapides LA          N19                                            05               4
Rapides LA          S19                                            04             251
Rapides LA          S19                                            05             158
Sabine LA           6-4                                            03             120
Sabine LA           6-4                                            04              71
St. Tammany LA      M04                                            01             704
St. Tammany LA      M04                                            06             503




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           Case 3:22-cv-00211-SDD-SDJ                Document 45    04/15/22 Page 33 of 62

      User:
Plan Name: Illustrative_1
 Plan Type:


Communities of Interest (Condensed)
Thursday, April 7, 2022                                                                              1:45 PM
Whole Census Place : 293
Census Place Splits: 26
Zero Population Census Place Splits: 2

District              Census Place Population      % Pop District       Census Place Population        % Pop
01                    Broussard            190      1.42%
01                    New Iberia         27,435    96.08%
01                    Arnaudville           39      3.87%
01                    Morgan City            0      0.00%
01                    Kenner             56,858    85.57%
01                    New Orleans        33,047     8.61%
01                    Mandeville          5,043    38.23%
02                    Kenner              9,590    14.43%
02                    New Orleans     350,950      91.39%
03                    Eunice               302      3.21%
03                    Lafayette          84,954    69.99%
03                    Broussard          13,227    98.58%
03                    New Iberia          1,120     3.92%
03                    Morgan City        11,472   100.00%
04                    Alexandria         16,205    35.79%
04                    Ball                   0      0.00%
04                    West Monroe         8,395    64.07%
05                    Eunice              9,120    96.79%
05                    Lafayette          36,420    30.01%
05                    Arnaudville          970     96.13%
05                    Alexandria         29,070    64.21%
05                    Ball                3,961   100.00%
05                    Baton Rouge     143,972      63.29%
05                    West Monroe         4,708    35.93%
06                    Baton Rouge        83,498    36.71%
06                    Mandeville          8,149    61.77%




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             Exhibit J-9
           Case 3:22-cv-00211-SDD-SDJ                Document 45    04/15/22 Page 35 of 62

      User:
Plan Name: Illustrative_1
 Plan Type:


Communities of Interest (Condensed)
Thursday, April 7, 2022                                                                          4:43 PM
Whole CBSA : 14
CBSA Splits: 14
Zero Population CBSA Splits: 0

District              CBSA            Population   % Pop District       CBSA     Population        % Pop
01                    Lafayette, LA       88,873   18.58%
01                    Baton Rouge,        21,039    2.42%
                      LA
01                    New Orleans-       459,243   36.11%
                      Metairie, LA
02                    Baton Rouge,       106,002   12.18%
                      LA
02                    New Orleans-       670,291   52.70%
                      Metairie, LA
03                    Lafayette, LA      324,587   67.85%
04                    Alexandria,         70,686   46.45%
                      LA
04                    Monroe, LA          86,424   41.73%
05                    Alexandria,         81,506   53.55%
                      LA
05                    Lafayette, LA       64,924   13.57%
05                    Baton Rouge,       288,166   33.10%
                      LA
05                    Monroe, LA         120,680   58.27%
06                    Baton Rouge,       455,362   52.31%
                      LA
06                    New Orleans-       142,311   11.19%
                      Metairie, LA




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            Exhibit K-1
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                                                            Population Summary Report
                                                 Louisiana Congress -- Illustrative Plan 2
                                                                          2020 Census
                                                                                                    18 + AP      % 18+ AP                              18+ NH      % 18+ NH
 District      Population          Deviation      AP Black        % AP Black          18+ Pop        Black         Black     18+ Latino % 18+ Latino    White       White

     1               776293                  0          140334           18.08%           598980        98862       16.51%        65326       10.91%      399732      66.74%
     2               776293                  0          412581           53.15%           606036       306982       50.65%        46785        7.72%      229831      37.92%
     3               776293                  0          181209           23.34%           585553       126424       21.59%        29617        5.06%      406600      69.44%
     4               776293                  0          236618           30.48%           592745       169811       28.65%        25859        4.36%      369521      62.34%
     5               776293                  0          408130           52.57%           593183       296852       50.04%        20163        3.40%      261385      44.06%
     6               776292                 -1          164247           21.16%           594051       116838       19.67%        35912        6.05%      415041      69.87%

   Total           4657757                            1543119            33.13%          3570548      1115769       31.25%       223662       6.26%     2082110       58.31%

                                   % July 2021
              % NH SR   % NH White    Black
 District    Black CVAP   CVAP     Registered

     1              15.37%           74.79%            14.83%
     2              53.66%           39.53%            52.72%
     3              21.39%           73.84%            20.70%
     4              29.29%           65.43%            28.18%
     5              51.26%           45.92%            51.53%
     6              19.26%           75.79%            18.12%


Source for % Citizen Voting Age (CVAP ) -- 2020 Citizen Voting Age Population by Race and Ethnicity Special Tabulation (U.S. Census Bureau)
   https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html

-- calculated by disaggregating 2016-2020 ACS block group estimates to 2020 census blocks

Source for Voter Registration Stats: State of Louisiana via Redistricting Data Hub

   https://redistrictingdatahub.org/dataset/louisiana-voter-registration-file-at-the-vtd-level/
   https://redistrictingdatahub.org/wp-content/uploads/2021/09/readme_la_voter_reg_official.txt

 -- calculated by disaggregating 2020 VTD data to 2020 census blocks
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            Exhibit K-3
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            Exhibit K-4
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            Exhibit K-5
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            Exhibit K-6
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      User:
Plan Name: Illustrative_2
 Plan Type:


Plan Components
Thursday, April 7, 2022                                                         2:29 PM
                                     Population              [18+_Pop]     [18+_AP_Blk]
District 1
 County: Jefferson LA (part)             264,196                210,305            32,028
 County Jefferson LA Subtotal          264,196                 210,305            32,028
 County: Lafourche LA                    97,557                  74,619            11,077
 County: Orleans LA (part)               28,740                  22,614             1,397
    Subtotal                             28,740                 22,614              1,397
 County Orleans LA Subtotal              28,740                 22,614              1,397
 County: Plaquemines LA                   23,515                 17,334              3,857
 County: St. Bernard LA                   43,764                 31,775             7,944
 County: St. Charles LA (part)            25,156                 19,082              4,621
 County St. Charles LA Subtotal          25,156                 19,082              4,621
 County: St. Mary LA (part)                 559                    420                 215
    Subtotal                                559                    420                215
 County St. Mary LA Subtotal                559                    420               215
 County: St. Tammany LA (part)           183,226                140,326            21,927
    Subtotal                           183,226                 140,326            21,927
 County St. Tammany LA Subtotal        183,226                 140,326            21,927
 County: Terrebonne LA                  109,580                  82,505            15,796
District 1 Total                       776,293                 598,980            98,862
District 2
 County: Ascension LA (part)               9,737                  7,283             4,890
 County Ascension LA Subtotal             9,737                  7,283             4,890
 County: Assumption LA                    21,039                  16,616            4,707
 County: Iberville LA                     30,241                 24,086            10,232
 County: Jefferson LA (part)             176,585                134,349            60,147
 County Jefferson LA Subtotal          176,585                 134,349            60,147
 County: Lafayette LA (part)             41,605                  32,249            20,039
    Subtotal                             41,605                 32,249            20,039
 County Lafayette LA Subtotal           41,605                  32,249            20,039
 County: Orleans LA (part)              355,257                 283,582           164,671
    Subtotal                           355,257                 283,582           164,671
 County Orleans LA Subtotal            355,257                 283,582           164,671
 County: St. Charles LA (part)           27,393                  20,459             5,269
 County St. Charles LA Subtotal          27,393                 20,459             5,269
 County: St. James LA                     20,192                 15,505             7,297
 County: St. John the Baptist LA          42,477                 32,503            18,437
 County: St. Martin LA                    51,767                 39,404            11,293
District 2 Total                       776,293                 606,036           306,982
District 3
 County: Acadia LA                       57,576                  42,943             7,383


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Plan Components                                                             Illustrative_2

                                     Population              [18+_Pop]     [18+_AP_Blk]
District 3
 County: Allen LA                        22,750                  17,510             3,275
 County: Beauregard LA (part)            32,682                 24,599              3,261
    Subtotal                             32,682                 24,599             3,261
 County Beauregard LA Subtotal           32,682                 24,599            3,261
 County: Calcasieu LA                    216,785                163,166           41,898
 County: Cameron LA                        5,617                  4,358               79
 County: Evangeline LA                    32,350                 24,408            6,483
 County: Iberia LA                        69,929                 52,791           17,069
 County: Jefferson Davis LA               32,250                 24,039            4,006
 County: Lafayette LA (part)             200,148                151,626           25,878
    Subtotal                           200,148                 151,626           25,878
 County Lafayette LA Subtotal          200,148                 151,626           25,878
 County: St. Mary LA (part)              48,847                  37,101           11,305
    Subtotal                             48,847                 37,101           11,305
 County St. Mary LA Subtotal             48,847                 37,101           11,305
 County: Vermilion LA                     57,359                 43,012            5,787
District 3 Total                       776,293                 585,553          126,424
District 4
 County: Beauregard LA (part)             3,867                   2,890               234
    Subtotal                              3,867                  2,890               234
 County Beauregard LA Subtotal           3,867                   2,890               234
 County: Bossier LA                     128,746                  95,876           22,440
 County: Caddo LA                       237,848                 182,407           86,359
 County: Caldwell LA                       9,645                   7,478            1,224
 County: De Soto LA                      26,812                  20,440            7,425
 County: Grant LA                        22,169                  17,527             2,717
 County: Jackson LA                       15,031                  11,783            3,125
 County: LaSalle LA                       14,791                  11,563            1,065
 County: Natchitoches LA                 37,515                  29,349            11,415
 County: Ouachita LA (part)              72,964                  55,388            4,704
 County Ouachita LA Subtotal             72,964                 55,388             4,704
 County: Rapides LA (part)                77,658                 59,346             6,992
    Subtotal                             77,658                 59,346             6,992
 County Rapides LA Subtotal              77,658                 59,346             6,992
 County: Red River LA                      7,620                  5,714             2,164
 County: Sabine LA                        22,155                 17,064             2,655
 County: Vernon LA                        48,750                 36,261             5,133
 County: Webster LA                       36,967                 28,753            9,464
 County: Winn LA                          13,755                 10,906             2,695
District 4 Total                       776,293                 592,745          169,811
District 5
 County: Avoyelles LA                    39,693                  30,578              8,311
 County: Bienville LA                     12,981                 10,073             4,284
 County: Catahoula LA                      8,906                  6,951             1,736


                                                                            Page 2 of 3
        Case 3:22-cv-00211-SDD-SDJ       Document 45   04/15/22 Page 55 of 62

Plan Components                                                               Illustrative_2

                                       Population              [18+_Pop]     [18+_AP_Blk]
District 5
 County: Claiborne LA                       14,170                  11,507            4,824
 County: Concordia LA                       18,687                  14,217            5,613
 County: East Baton Rouge LA (part)        210,418                 158,183          113,491
    Subtotal                             210,418                 158,183          113,491
 County East Baton Rouge LA Subtotal     210,418                 158,183          113,491
 County: East Carroll LA                     7,459                   5,901           4,043
 County: East Feliciana LA                 19,539                   16,183            5,918
 County: Franklin LA                       19,774                  15,028            4,779
 County: Lincoln LA                        48,396                  38,655            15,119
 County: Madison LA                         10,017                   7,435            4,391
 County: Morehouse LA                      25,629                  20,062            9,300
 County: Ouachita LA (part)                87,404                  64,812           37,586
 County Ouachita LA Subtotal               87,404                 64,812           37,586
 County: Pointe Coupee LA                   20,758                 16,250            5,502
 County: Rapides LA (part)                  52,365                 39,446           23,213
    Subtotal                               52,365                 39,446           23,213
 County Rapides LA Subtotal                52,365                 39,446           23,213
 County: Richland LA                        20,043                 15,383            5,546
 County: St. Landry LA                      82,540                  61,811          25,497
 County: Tensas LA                            4,147                 3,235            1,728
 County: Union LA                            21,107                16,632            3,861
 County: West Baton Rouge LA                27,199                 20,526            8,149
 County: West Carroll LA                      9,751                 7,532             1,010
 County: West Feliciana LA                   15,310                12,783            2,951
District 5 Total                         776,293                 593,183          296,852
District 6
 County: Ascension LA (part)               116,763                 84,674            17,249
 County Ascension LA Subtotal            116,763                  84,674           17,249
 County: East Baton Rouge LA (part)       246,363                 197,429           43,299
    Subtotal                             246,363                 197,429           43,299
 County East Baton Rouge LA Subtotal     246,363                 197,429           43,299
 County: Livingston LA                    142,282                  105,141           8,136
 County: St. Helena LA                     10,920                    8,463           4,371
 County: St. Tammany LA (part)             81,344                   61,902          4,834
    Subtotal                               81,344                 61,902             4,834
 County St. Tammany LA Subtotal            81,344                 61,902             4,834
 County: Tangipahoa LA                     133,157                 101,491           29,217
 County: Washington LA                      45,463                  34,951            9,732
District 6 Total                         776,292                 594,051          116,838
State Totals                            4,657,757               3,570,548       1,115,769




                                                                              Page 3 of 3
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            Exhibit K-7
         Case 3:22-cv-00211-SDD-SDJ                        Document 45    04/15/22 Page 57 of 62

      User:
Plan Name: Illustrative_2
 Plan Type:


Political Subdivison Splits Between Districts
Thursday, April 7, 2022                                                                                  2:20 PM
                                                   Split Counts
Number of subdivisions split into more than one district: Number of splits involving no population:
County                                            11      County                                            0
Voting District                                   10      Voting District                                   3

Number of times a subdivision is split into multiple districts:
County                                                11
Voting District                                       10

County                      Voting District                                              District     Population
Split Counties:
Ascension LA                                                                                    2           9,737
Ascension LA                                                                                    6         116,763
Beauregard LA                                                                                   3          32,682
Beauregard LA                                                                                   4           3,867
East Baton Rouge LA                                                                             5         210,418
East Baton Rouge LA                                                                             6         246,363
Jefferson LA                                                                                    1         264,196
Jefferson LA                                                                                    2         176,585
Lafayette LA                                                                                    2          41,605
Lafayette LA                                                                                    3         200,148
Orleans LA                                                                                      1          28,740
Orleans LA                                                                                      2         355,257
Ouachita LA                                                                                     4          72,964
Ouachita LA                                                                                     5          87,404
Rapides LA                                                                                      4          77,658
Rapides LA                                                                                      5          52,365
St. Charles LA                                                                                  1          25,156
St. Charles LA                                                                                  2          27,393
St. Mary LA                                                                                     1             559
St. Mary LA                                                                                     3          48,847
St. Tammany LA                                                                                  1         183,226
St. Tammany LA                                                                                  6          81,344
Split VTDs:
Beauregard LA               3                                                                   3              384
Beauregard LA               3                                                                   4               41
Beauregard LA               30                                                                  3            1,019
Beauregard LA               30                                                                  4                0
Beauregard LA               7                                                                   3              177
Beauregard LA               7                                                                   4            1,193
East Baton Rouge LA         1-40                                                                5                3
East Baton Rouge LA         1-40                                                                6            1,199
Lafayette LA                70                                                                  2            1,052
Lafayette LA                70                                                                  3               12


                                                                                                      Page 1 of 2
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Political Subdivison Splits Between Districts                            Illustrative_2

County              Voting District                           District   Population
Orleans LA          7-41                                            1             466
Orleans LA          7-41                                            2              54
Rapides LA          S23                                             4             605
Rapides LA          S23                                             5               0
St. Mary LA         28                                              1             270
St. Mary LA         28                                              3           1,031
St. Mary LA         42                                              1               0
St. Mary LA         42                                              3           1,060
St. Tammany LA      406                                             1             427
St. Tammany LA      406                                             6             923




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            Exhibit K-8
           Case 3:22-cv-00211-SDD-SDJ                Document 45    04/15/22 Page 60 of 62

      User:
Plan Name: Illustrative_2
 Plan Type:


Communities of Interest (Condensed)
Thursday, April 7, 2022                                                                              2:22 PM
Whole Census Place : 290
Census Place Splits: 33
Zero Population Census Place Splits: 3

District              Census Place Population      % Pop District       Census Place Population        % Pop
1                     Morgan City            0      0.00%
1                     New Orleans        28,740     7.48%
2                     Lafayette          38,408    31.64%
2                     Carencro             821      8.85%
2                     Broussard            190      1.42%
2                     Arnaudville           39      3.87%
2                     Morgan City            0      0.00%
2                     New Orleans     355,257      92.52%
3                     DeRidder            9,198    93.36%
3                     Eunice               302      3.21%
3                     Lafayette          82,966    68.36%
3                     Carencro            8,451    91.15%
3                     Broussard          13,227    98.58%
3                     Morgan City        11,472   100.00%
4                     DeRidder             654      6.64%
4                     Forest Hill          605    100.00%
4                     Alexandria         15,160    33.48%
4                     Pineville           7,724    53.70%
4                     West Monroe         8,264    63.07%
4                     Monroe              7,734    16.21%
5                     Eunice              9,120    96.79%
5                     Arnaudville          970     96.13%
5                     Forest Hill            0      0.00%
5                     Alexandria         30,115    66.52%
5                     Pineville           6,660    46.30%
5                     Baton Rouge     130,936      57.56%
5                     Zachary            19,303    99.93%
5                     Central             1,266     4.28%
5                     West Monroe         4,839    36.93%
5                     Monroe             39,968    83.79%
6                     Baton Rouge        96,534    42.44%
6                     Zachary               13      0.07%
6                     Central            28,299    95.72%




                                                                                                  Page 1 of 1
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            Exhibit K-9
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      User:
Plan Name: Illustrative_2
 Plan Type:


Communities of Interest (Condensed)
Thursday, April 7, 2022                                                                          5:12 PM
Whole CBSA : 12
CBSA Splits: 16
Zero Population CBSA Splits: 0

District              CBSA            Population   % Pop District       CBSA     Population        % Pop
1                     Morgan City,          559     1.13%
                      LA
1                     New Orleans-       568,597   44.71%
                      Metairie, LA
2                     Lafayette, LA       93,372   19.52%
2                     Baton Rouge,        61,017    7.01%
                      LA
2                     New Orleans-       621,904   48.90%
                      Metairie, LA
3                     DeRidder, LA        32,682   89.42%
3                     Lafayette, LA      385,012   80.48%
3                     Morgan City,        48,847   98.87%
                      LA
4                     DeRidder, LA         3,867   10.58%
4                     Alexandria,         99,827   65.59%
                      LA
4                     Monroe, LA          72,964   35.23%
5                     Alexandria,         52,365   34.41%
                      LA
5                     Baton Rouge,       293,224   33.68%
                      LA
5                     Monroe, LA         134,140   64.77%
6                     Baton Rouge,       516,328   59.31%
                      LA
6                     New Orleans-        81,344    6.40%
                      Metairie, LA




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